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                                                                            CLOSED,CUSTODY
                              U.S. District Court
                   Eastern District of Oklahoma (Muskogee)
            CRIMINAL DOCKET FOR CASE #: 6:22−mj−00089−KEW−1

Case title: USA v. Hernandez                             Date Filed: 03/24/2022
                                                         Date Terminated: 03/24/2022

Assigned to: Magistrate Judge
Kimberly E. West

Defendant (1)
Jose Luis Hernandez                 represented by Thomas M. Wright
TERMINATED: 03/24/2022                             Wright Stout & Wilburn
also known as                                      PO Box 707
Cuate                                              Muskogee, OK 74402
                                                   918−682−0091
                                                   Fax: 918−683−6340
                                                   Email: tom@wswlaw.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: CJA Appointment

Pending Counts                                    Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                 Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                        Disposition
21:846 − Conspiracy to Possess
with the Intent to Distribute and
Distribution of Methamphetamine,
Cocaine, Heroin and Marijuana



Plaintiff

                                                                     USDC Oklahoma Eastern 1
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USA                                        represented by Clay A. Compton
                                                          US Attorney (OKED)
                                                          520 Denison Ave
                                                          Muskogee, OK 74401
                                                          918−684−5167
                                                          Fax: 918−684−5150
                                                          Email: clay.compton@usdoj.gov
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Government Attorney

Date Filed   # Page Docket Text
03/24/2022           ARREST on Charges Pending in Eastern District of Texas (Rule 5) as to Jose
                     Luis Hernandez. (rak, Deputy Clerk) (Entered: 03/24/2022)
03/24/2022   1       RULE 5 PAPERS from Eastern District of Texas as to Jose Luis Hernandez.
                     (rak, Deputy Clerk) (Main Document 1 replaced on 3/24/2022) (rak, Deputy
                     Clerk). (Entered: 03/24/2022)
03/24/2022   2       MINUTE ORDER by Magistrate Judge Kimberly E. West setting Video
                     Conference Initial Appearance − Rule 5 Hearing for 3/28/2022 at 1:30 PM in
                     Courtroom 3 before Magistrate Judge Kimberly E. West as to Jose Luis
                     Hernandez. (rak, Deputy Clerk) (Entered: 03/24/2022)
03/28/2022   3       Notice of Consent to Proceed Via Video Teleconference as to Jose Luis
                     Hernandez. (rak, Deputy Clerk) (Entered: 03/29/2022)
03/28/2022   4       MINUTES of Proceedings held before Magistrate Judge Kimberly E. West:
                     Initial Appearance in Rule 5 Proceedings held on 3/28/2022 as to Jose Luis
                     Hernandez. Defendant remanded to custody of USMS. (rak, Deputy Clerk)
                     (Main Document 4 replaced on 3/29/2022) (rak, Deputy Clerk). (Entered:
                     03/29/2022)
03/28/2022   5       ORAL MOTION for Appointment of Counsel by Jose Luis Hernandez. (rak,
                     Deputy Clerk) (Entered: 03/29/2022)
03/28/2022   6       ORDER APPOINTING COUNSEL by Magistrate Judge Kimberly E. West
                     granting (5) Oral Motion for Appointment of Counsel as to Jose Luis Hernandez.
                     (rak, Deputy Clerk) (Entered: 03/29/2022)
03/28/2022   7       CJA 23 Financial Affidavit by Jose Luis Hernandez. (rak, Deputy Clerk)
                     (Entered: 03/29/2022)
03/28/2022   8       COMMITMENT to Another District (Rule5) by Magistrate Judge Kimberly E.
                     West as to Jose Luis Hernandez. (rak, Deputy Clerk) (Entered: 03/29/2022)




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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                      EasternDistrict
                                                 __________   District of
                                                                       of __________
                                                                          Texas

                  United States of America                                EDOK Case No. 22-MJ-89-KEW
                             v.                                   )
                                                                  )         Case No.   4:20-cr-00179-SDJ-KPJ
               JOSE LUIS HERNANDEZ (36)                           )
                     a.k.a. "Cuate"                               )
                                                                  )
                                                                  )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      JOSE LUIS HERNANDEZ                                                                               ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              ✔ Superseding Indictment
                          u                               u Information       u Superseding Information             u Complaint
u Probation Violation Petition            u Supervised Release Violation Petition       u Violation Notice          u Order of the Court

This offense is briefly described as follows:
  21 U.S.C. § 846 - Conspiracy to Possess with the Intent to Distribute and Distribution of Methamphetamine, Cocaine,
  Heroin and Marijuana




Date:         09/01/2021
                                                                                         Issuing officer’s signature

City and state:       Sherman, Texas                                                    David A. O'Toole, Clerk
                                                                                           Printed name and title


                                                                Return

           This warrant was received on (date)                        , and the person was arrested on (date)
at (city and state)                                         .

Date:
                                                                                        Arresting officer’s signature



                                                                                           Printed name and title



                                                                                                     USDC Oklahoma Eastern 3
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                                                                              U. S. DISTRICT COURT
                                                                           EASTERN DIST ICT OF TEXAS

                                    IN THE UNITED STATES DISTRICT COURT
                                     FOR THE EASTERN DISTRICT OF TEXAS
                                                                                  SEP 0 1 2021
                                              SHERMAN DIVISION
                                                                     BY
     UNITED STATES OF AMERICA §                                 SEALED DEPUTY-
                                                         §
     v.                                      §                  No. 4:20-CR-179
                                                         §       Judge Jordan
     ISMAEL ENRIQUE FERNANDEZ- §
     VASQUEZ (1) §
       a.k.a. El Primo “Primo “Kike” “Kique” §
       “Licenciado” “Lie” §
     YVETTE TOMASITA MONTEMAYOR (2) §
       a.k.a. “La Guera” “La Wera” “La Prima” §
     SALVADOR RODRIGUEZ MORENO (3) §
       a.k.a. “Salvador Moreno Rodriguez §
       “Chava            “Negro” §
     CYNTHIA ELVIRA ARANDA (4) §
     YANIRA YVETTE GONZALEZ (5) §
     MARIA DE LOURDES FERNANDEZ- §
     VASQUEZ (6) §
     HOMERO VIDAURRI VARGAS (7) §
       a.k.a. “Hummer                                  §
     SAUL HUERTA-HERNANDEZ (8) §
     JONATHAN SOTELO (9) §
     MICHELLE VEGA (10) §
     ISRAEL DAVID FERNANDEZ §
     VASQUEZ (11) §
       a.k.a. “Primo” “Guero” §
     RAFAEL NAVA (12) §
     LUIS FERNANDO ESPINOZA (13) §
       a.k.a. “Pikachu                                 §
     JORGE LUIS CRUZ (14) §
     CARLOS LOPEZ, JR. (15) §
       a.k.a. “Guero” “Laredo” “Gordo” §
     JOSHUA CHADWICK GARAY (16) §
       a.k.a. “Red                       “Fenway” §
     HECTOR ALONZO (17) §
     JOSE PLATA (18) §
     GIOVANNA TELLEZ (19) §
       a.k.a. “Giovanna Cruz” §
     KEVIN ALEXIS ALVAREZ (20) §
     MARK ANTHONY LOPEZ (21) §
    Second Superseding Indictment
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     JOAQUIN JOEL MONTEMAYOR (22) §
     SERGIO LUIS TEJEDA NUNEZ (23) §
       a.k.a.              Checo         “Cheko        §
     SERGIO LEAL (24) §
       a.k.a. “El Bull” “Bull”                         §
     JOSE HUMBERTO CASTRO TREJO (25) §
       a.k.a. “Francisco Castro Trejo” “Paco: §
       “Pacoroo” §
     JOSE PORRAS CARMONA (26) §
     FRANCISCO JAVIER HERNANDEZ §
     CELAYA (27) §
       a.k.a. “Paquillo” §
     JOSE HUMBERTO BARRERA (28) §
       a.k.a.                       “Pepe”             §
     LUIS EDMONDO VASQUEZ (29) §
     ERIC ALEXANDER MARTINEZ (3 0) §
     JAIME ENRIQUE GARZA JUAREZ (31) §
     ELIUD CHAPA MORALES (32) §
     JESSWEN RIVERA (33) §
     JAVIER NEIRA, JR. (34) §
       a.k.a.                        “Javi             §
     ROQUE RUBEN CELESTINO (35) §
     JOSE LUIS HERNANDEZ (36) §
       a.k.a.                       “Cuate             §
     JOSE FERNANDO HERNANDEZ §
     PERALES (37) §
     JORGE ELIAS GOLARTE (3 8) §
     DAVID ROBERT VELA (39) §
       a.k.a.                       “Primo”            §


                                    SECOND SUPERSEDING INDICTMENT
    THE UNITED STATES GRAND JURY CHARGES:

                                           Count One

                                                       Violation: 21 U.S.C. § 846
                                                       (Conspiracy to Possess with the Intent to
                                                       Distribute and Distribution of
                                                       Methamphetamine, Cocaine, Heroin and




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                                                             Marijuana)

              That from sometime in or about September 2014, and continuously thereafter

    up to and including the date of this Second Superseding Indictment, in the Eastern

    District of Texas and elsewhere,

    Ismael Enrique Fernandez-Vasquez, a.k.a. El Primo “Primo “Kike “Kique”
                                              “Licenciado “Lie
         Yvette Tomasita Montemayor, a.k.a. “La Guera “La Wera “La Prima
       Salvador Rodriguez Moreno, a.k.a. “Salvador Moreno Rodri uez “Chava
                                     “Negro”
                                            Cynthia Elvira Aranda
                                            Yanira Yvette Gonzalez
                                     Maria De Lourdes Fernandez-Vasquez
                                Homero Vidaurri Vargas, a.k.a. “Hummer
                                            Saul Huerta-Hernandez
                                                Jonathan Sotelo
                                                 Michelle Vega
                     Israel David Fernandez Vasquez, a.k.a. “Primo “Guero
                                                 Rafael ava
                                    Luis Fernando Espinoza, a.k.a. “Pikachu
                                                Jorge Luis Cruz
                         Carlos Lopez, Jr., a.k.a. “Guero “Laredo “Gordo
                            Joshua Chadwick Garay, a.k.a. “Red “Fen ay
                                                Hector Alonzo
                                                 Jose Plata
                                    Giovanna Tellez, a.k.a. “Giovanna Cruz”
                                             Kevin Alexis Alvarez
                                             Mark Anthony Lopez
                                           Joaquin Joel Montemayor
                          Sergio Luis Tejeda Nunez, a.k.a. “Checo “Cheko
                                  Sergio Leal, a.k.a. “El Bull” “Bull
    Jose Humberto Castro Trejo, a.k.a. “Francisco Castro Trejo “Paco “Pacorro”
                                             Jose Porras Carmona
                        Francisco Javier Hernandez Celaya, a.k.a. “Paquillo”
                                     Jose Humberto Barrera, a.k.a. “Pepe
                                            Luis Edmondo Vasquez
                                            Eric Ale ander Martinez
                                          Jaime Enrique Garza Juarez
                                             Eliud Chapa Morales

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                                                 Jesswen Rivera
                                         Javier Neira, Jr., a.k.a. Javi
                                             Roque Ruben Celestino
                                      Jose Luis Hernandez, a.k.a. Cuate
                                       Jose Fernando Hernandez Perales
                                               Jorge Elias Golarte
                                       David Robert Vela, a.k.a. Primo


    defendants, did knowingly and intentionally combine, conspire, and agree with other

    persons known and un nown to the United States Grand Jury, to knowingly and

    intentionally possess with the intent to distribute and distribute 500 grams or more of

    a mixture or substance containing a detectable amount of methamphetamine or 50

    grams or more of methamphetamine (actual), five kilograms or more of a mixture or

    substance containing a detectable amount of cocaine, 1 kilogram or more of heroin,

    and 1000 kilograms or more of marijuana, a violation of 21 U.S.C. § 841(a)(1).

              In violation of 21 U.S.C. § 846.

                 NOTICE OF INTENTION TO SEEK CRIMINAL FORFEITURE

                                    Criminal Forfeiture Pursuant to 21 U.S.C. § 853

              As a result of committing the offenses charged in this Second Superseding

    Indictment, the defendants shall forfeit to the United States any property they may have

    used or intended to be used to commit or facilitate the offenses and/or property derived

    from proceeds obtained directly or indirectly as a result of the commission of the

    violation of 21 U.S.C. § 846.

              All such proceeds and/or instrumentalities are subject to forfeiture by the




    Second Superseding Indictment
    Paged


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    government.



                                                   A TRUE BILL



                                                   GRAND URY FOREPERSON

    NICHOLAS J. GANJEI
    ACTING UNITED STATES ATTORNEY



    Heaih t atta                                   Date
    Assistant United States Attorney




    Second Superseding Indictment
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                                                                          EASTERN DISTRICT OF TEXAS
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS $EP 0 1 2021
                                    SHERMAN DIVISION

     UNITED STATES OF AMERICA                        §        SEALED BY
                                                                         DEPUTY.
                                                     §
     V.                                              §         No. 4:20-CR-179
                                                     §         ludge Iordan
     ISMAEL ENRIQUE FERNANDEZ-                       §
     VASQUEZ (1)                                     §
       a.k.a. El Primo “Primo “Kike” “Kique”         §
       “Licenciado “Lie”                             §
     YVETTE TOMASITA MONTEMAYOR (2)                  §
       a.k.a. “La Guera” “La Wera” “La Prima”        §
     SALVADOR RODRIQUEZ MORENO (3)                   §
       a.k.a. “Salvador Moreno Rodriguez             §
       “Chava “Negro”                                §
     CYNTHIA ELVIRA ARANDA (4)                       §
     YANIRA YVETTE GONZALEZ (5)                      §
     MARIA DE LOURDES FERNANDEZ-                     §
     VASQUEZ (6)                                     §
     HOMERO VIDAURRI VARGAS (7)                      §
       a.k.a. “Hummer”                               §
     SAUL HUERTA-HERNANDEZ (8)                       §
      ONATHAN SOTELO (9)                             §
     MICHELLE VEGA (10)                              §
     ISRAEL DAVID FERNANDEZ                          §
     VASQUEZ (11)                                    §
       a.k.a. “Primo “Guero”                         §
     RAFAEL NAVA (12)                                §
     LUIS FERNANDO ESPINOZA (13)                     §
       a.k.a. “Pikachu”                              §
     IORGE LUIS CRUZ (14)                            §
     CARLOS LOPEZ, IR. (15)                          §
       a.k.a. “Guero” “Laredo” “Gordo”               §
     IOSHUA CHADWICK GARAY (16)                      §
       a.k.a. “Red” “Fenway”                         §
     HECTOR ALONZO (17)                              §
     IOSE PLATA (18)                                 §
     GIOVANNA TELLEZ (19)                            §
       a.k.a. “Giovanna Cruz”                        §
     KEVIN ALEXIS ALVAREZ (20)                       §
     MARK ANTHONY LOPEZ (21)                         §
    Notice of Penalty
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      JOAQUIN JOEL MONTEM YOR (22) §
      SERGIO LUIS TEJEDA NUNEZ (23) §
        a.k.a.          Checo       Cheko          §
      SERGIO LEAL (24) §
        a.k.a. “El Bull               “Bull” §
      JOSE HUMBERTO CASTRO TREJO (25) §
        a.k.a. “Francisco Castro Trejo” “Paco: §
        “Pacoroo” §
     JOSE PORRAS CARMONA (26) §
     FRANCISCO JAVIER HERNANDEZ §
      CELAYA (27) §
       a.k.a. “Paquillo                            §
     JOSE HUMBERTO BARRERA (28) §
       a.k.a.             “Pepe”                  §
     LUIS EDMONDO VASQUEZ (29) §
     ERIC ALEXANDER MARTINEZ (3 0) §
     JAIME ENRIQUE GARZA JUAREZ (31) §
     ELIUD CHAPA MORALES (32) §
     JESS WEN RIVERA (33) §
     JAVIER NEIRA, JR. (34) §
       a.k.a.              “Javi”                §
     ROQUE RUBEN CELESTINO (35) §
     JOSE LUIS HERNANDEZ (36) §
       a.k.a.             “Cuate”                 §
     JOSE FERNANDO HERNANDEZ §
     PERALES (37) §
     JORGE ELIAS GOLARTE (3 8) §
     DAVID ROBERT VELA (3 9) §
       a.k.a.             “Primo”                 §


                                     NOTICE OF PENALTY

                                         Count One


    Violation: 21 U.S.C. § 846

    Penalty: If 1 kilogram or more of heroin, 500 grams or more of
                          methamphetamine or 50 grams or more of methamphetamine
                              actual, or 5 kilograms or more of a mixture or substance
                              containing a detectable amount of cocaine: not less than 10
                              years and not more that life imprisonment, a fine not to
                              exceed $10 million, or both; supervised release of at least 5
    Notice of Penalty
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                               years If 100 kilogram or more of marijuana, not less than 5
                               years nor more than 40 years imprisonment, a fine not to
                               exceed $5 million, or both; supervised release of at least 3
                               years.


    Special Assessment:        $100.00




   Notice of Penalty
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                               UNITED STATES DISTRICT COURT
                                                             for the
                                       EASTERN DISTRICT OF OKLAHOMA

       UNITED STATES OF AMERICA,                               )
                                                               )       Case No.: 22-MJ-89-KEW
                                                Plaintiff,     )
                               v.                              )           Date: 03/28/2022
                                                               )
                 JOSE LUIS HERNANDEZ                           )          Time: 1:43 p.m. – 1:46 p.m.
                                   Defendant.                  )

                                               MINUTE SHEET
                                    VIDEO CONFERENCE INITIAL APPEARANCE
                                                  (Rule 5)

U.S. Magistrate Judge Kimberly E. West           Rachel Keeling, Deputy Clerk         FTR Courtroom: 3 - Room 432

Counsel for Plaintiff: Jordan Howanitz for Clay Compton, AUSA (via video)
Counsel for Defendant: Thomas Wright, Appt=d (via video)

☒ Fin. Afdt / oral request for counsel                       Obj by Gov=t : ☐yes       ☒ no ☒ Court appointed counsel
☐ Interpreter:                                               ; ☐ sworn

☒ Defendant acknowledged receipt of copy of Indictment from Eastern District of Texas(Case No. CR-20-179-SDJ-KPJ)
☒ Court advised defendant of constitutional rights under Rule 5.
☒ Court advised defendant of constitutional rights under Rule 20.

☒   Defendant orally waived Identity Hearing                                ☒ Waiver executed and accepted by Court
☐   Defendant waived Preliminary Hearing
☐   Defendant requested Preliminary Hearing                                 ☐ Preliminary Hearing set
☒   Defendant requested to proceed to prosecuting district for preliminary hearing

☐ Parties have reviewed Pretrial Services Report regarding detention                   Obj    ☐yes     ☐no -     ☐ by

☐ Government requested Detention
☒ Defendant waived detention hearing in this district and requested to be allowed to proceed to prosecuting district
   for further proceedings
☐ Defendant reserved issue of detention at this time
☐ Defendant agreed issue of bond is moot
☐ Defendant requested Detention Hearing                                    ☐ Detention Hearing set
☒ Defendant remanded to custody of U.S. Marshal for removal to the Eastern District of          Texas

☐ Defendant allowed to post bond in the amount of                                                     (unsecured/secured/surety)
   ☐ Conditions of Release:

Additional Minutes:




☒ The sound recording for this hearing has been reviewed for completeness and correctness. The recording is a true and accurate
record of these proceedings: RK

                                                                                                 USDC Oklahoma Eastern 13
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 /\0 94   (Rev. 0 I /0<J) Commitment to /\not her District



                                           UNITED



                   United States of /\merica
                                    V.
                                                                               Case No.
                 JOSE LUIS HERNANDEZ
                                                                                  Charging District's
                                                                                  Case No.
                                De.fi:ndanl                                       CR-20-179
                                                                                  SDJ-KPJ

                                                   COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the                tn S �E' C0         District or            lexo..s
The defendant may need an interpreter for this language:

          The clefcndant:             D       will retain an attorney.

                                      x
                                      D       is requesting court-appointed counsel.

          The defendant remains in custody a Iler the initial appearance.

         IT IS ORDERED: The United States marshal must transpo11 the defendant, together with a copy or this order, to
the charging district and deliver the defendant to the United States marshal for that district, or to another officer authorized
to receive the defendant. The marshal or officer in the charging district should immediately notify the United States
attorney and the clerk of court for that district or the defendant's arrival so that further proceedings may be promptly
scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:              03/28/2022


                                                                              KIMBERLY E. WEST, U.S. Magistrate Judge
                                                                                            l'ri111ed 11a111e and Jit/e




                                                                                                           USDC Oklahoma Eastern 15
